Case 8:08-cr-00223-AG Document 154 Filed 07/23/09 Page lofi Page ID #:507

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER:

PLAINTIFF
Vv.

SAchog -232 -8

 

TAGMoHaN S. DHizeod

 

REPORT COMMENCING CRIMINAL

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEFENDANT(S). ACTIQN ea @
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TO: CLERK’S OFFICE, U. S. DISTRICT COURT git = oy
All items are to be completed. Information not applicable or unknown will be indicatdd ashlar oo i
1. Date and time of arrest: apes /O'as pW XCAM / DPM 22* =
2. Defendant is in lock-up (in this court building) Yes et No 0 Po ”»
3. Charges under which defendant has been booked: 5 ww
AL VUSC $46, %41 (a) | 1456 (a)(s) @)
4. Offense charged is a: X&Felony QO Minor Offense 1 Petty Offense 1 Other Misdemeanor
5. US. Citizen: 0D Yes PXNo Ci Unknown
6. Interpreter Required: gn oO Cl Yes: (Language)
7. YearofBirth:  ,°. M4TA
8. The defendant is: 5Presently in custody on this charge.
C] Federal - In custody on another conviction.
L) State - In custody awaiting trialjon these charges.
9. Place of detention (if out-of-district): wh .
10. Date detainer placed on defendant: la : '
11. This is a reprosecution of previously dismissed charges. (Docket/Case No. Nis : )
12. Does the defendant have retained counsel? 2XNo
Cj Yes Name: and Phone Number:
13. Did you notify Pretrial Services? No
Jxif yes, please list Officer’s Name: Tree Ste atrd Time: Ao &pm
14. Remarks (if any):
| {
15.Date:_ 77 / AX | so 16. Name Tiled "Lev (Please Print)

17. Agency: Us V1 wes ec. 18. sents Ze —
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19. Office Phone Number: (114 S36- 4e/4

 

CR-64 (06/09) REPORT COMMENCING CRIMINAL ACTION
